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		OSCN Found Document:REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2018 OK 37Decided: 05/07/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 37, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.&nbsp;&nbsp;



RE: Revocation of Certificates of Certified Shorthand Reporters




ORDER


On February 15, 2018, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2017 and/or with the annual certificate renewal requirements for 2018. See 2018 OK 20 (SCAD 2018-17).

The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2018, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23.

IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 15, 2018.

Lori Byrd CSR #1981
Tara Dale CSR #1409
Kristina Greene CSR #1377
Holly Hurley CSR #1765

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7TH day of MAY, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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